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EXHIBIT F
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Ps eric a Sealant
ere pareel

Name ot Crediter (The person ar other entity 1a whom the schon

O Check bon if you are aware that
owes mancy OF property). anyone else has filed w prot of
UTAL POWER LIGHT claim relating ta your clang Atlas
Name and Address where natices should be sar! copy of staement giving particular,

UTAH POWER LIGHT Q Check box if you have never
PO BOX 25308 received any notices from the
SAULT LAKECITY UT 84125-0408 bankrupicy court 1a this case
O Check box if the address differs ‘Tats Seace ts 108 Count Usk ONLY
from the address on the envelope

Telephone Number: PRs Im =O sent to you by the court.

Account or other gumber by which creditor ideutifies debtor: Check here if — Oreplaces . .
= oy chis claim Qlamends a previously filed claim, dated

1. Basis for Clalm Cl Retiree benefits as defined in #1 U-S.C. §1114(a)

O Goods sold © Wages, salaries, und compensation (fill out belaw)

O Services performed Your SS 4;

O Money loaned Unpaid compensation far services performed

O Personal injury/wrongful death from lo

Cl Taxes (date) (date)

Other
2 Date debt was incurred: 3. {f court judgment, date obtained:
1/) ch

4. Total Amount of Claim ast Time Case Filed: $_ [9 Fo. 4p

Uf ali or part of your claim is secured or entitled to priorily, also complete Item 5 or 6 below.
O Cheek this box if claim includes interest or other charges in addition fo the principal amount of the claim. Attach itemized statement of all
interest or additional charges.

S$. Secured Claim. 6. Unsecured Priority Claim.
OG Check this box if your claim is secured by collatcral Q Check this box if you have an unsecured priority claim
(including a right of setoff). Amount entitled to priority $
Brief Description of Collateral: Specify the priority of the claim:
O Real Estate 0 Motor Vehicle O Wages, salaries, or commissions (up to $4,300),* camed within 90 days
O Other. . before filing of the bankruptcy petition or cessation of the debtor’s
business, whichever is exrlier - 11 U.S.C. § 507(aX3).
Value of Collateral: § $. C3 Contributions to an employce benefit plan - 11 U.S.C. §507(aX(4).

CO Up w $ 1,950* of deposits wwerd purchase, Kase, ot reatal of property or
services for persoaal, family, or household use - 11 U.S.C. § 507(«)(6).
CO Alimoay, mzintenance, or support awed to # spouse, former spouse, or

child - 11 U.S.C. § 50747).
" Amooat of arresrege and other charges at time case filed C1 Taxes or penalties owed to goveramental units - 11 U.S.C. § 507(aX8).
included in secured claim, if any: $__ Cl Other - Specify applicable paragraph of 11 U.S.C. § 507(aX_).
*Amourus are subject to adjusument on 4/1/01 and every 3 years thereafier
Lessa “5 with bo cates commenced on or the date of adjustment.
‘The amount of sil payments on this claim has beea lor the purpose ALY
making this proof of claim. heuenone
& Supporting Documents: Anach copler of supportirig documents,tach #s promissory aotes, purchase eteoh ap ease
ocders, invoices, itemized statements of running socounts, contracts, court judgments, mortgages, security (eh aa Chey, Ura AOL
agreements, and evidence of perfection of Eee. DO NOT SEND ORIGINAL DOCUMENTS. If the [>
docoments axe not available, expiaia. If the documents ere voluminous, attach e summary, See Sate wea ie tr
9.Deie Stamped Oop: To rccve ex acknowdgnent of te fling of your cea, cass samgod re
addressed envelope and copy of this proof of Se;
ser MN
“Sign and print the name and ade, i any, of th fo wtk (os, . 7
Lain copy ef power of atlovaey, if any): z
ob 5

“WR Grace BF.1.2.98
00000098
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Agrmt # 51305346 001 001 W R GRACE & CO CONN
Agreement Details
Agrmt Type Service Agreement Stat Cod WAT Rev Cls COM Connect 01-10-1994

Rate Sched 08GNSV0006.004 GENERAL SERVICE, 3 PHASE, SECON Disconnect 04-02-2001
Site Addr FREEPORT BLDG # J5-N FREEPORT CENTER UT 84016

Sve Deser Agr Dsc UTAH GENERAL SERVICE, DISTRIB

Billing/Payment Transactions

Tranx Date Rev Mo Typ Adj Transaction Details  Tranx Amt Agrmt Bal

_ 05-16-2001 0501 RBL Usage up to 4-2-01 600.90 1348.64

_ 03-10-2001 0301 RPY CSH# 000000390176332 -756.45 774.68
_ 03-09-2001 03 01 RBL RSCH 08LPAY0300.001 7.56 1531.13
03-09-2001 03 01 RBL RSCH 08GNSV0006.004 767,12 1523.57
__ 02-07-2001 0201 RBL RSCH O8LPAY0300.001 0.14 756.45
_ 02-07-2001 0201 RBL RSCH 08GNSV0006.004 742.61 756.31
_ 02-01-2001 0201 RPY CSH# 000000729103582 -713.55 13.70
_ 02-01-2001 0201 RPY CSH# 000000729103582 -6.14 727.25
01-10-2001 0101 RPY CSH#000000358493496 -749.89 733.39
__ 01-09-2001 0101 RBL RSCH O8LPAY0300.001 7,56 1483.28
_01-09-2001 0101 RBL RSCH 08GNSV0006.004 719.69 1475.72
__ 12-07-2000 12 00 RPY CSH# 000000273340667 -614.37 756.03
_ 12-07-2000 1200 RBL RSCH O8LPAY0300.001 6.14 1370.40
_ 12-07-2000 1200 RBL RSCH 08GNSV0006.004 749.89 1364.26
_ 11-04-2000 11.00 RBL RSCH 08GNSV0006.004 614.37 614.37
_ 10-30-2000 1000 RPY CSH# 000000921381373 -711.39 0.00

__ 10-05-2000 1000 RBL RSCH 08GNSV0006.004 711.39 711.39
_ 10-02-2000 1000 RPY CSH# 000000094476054 -729.72 0.00

_ 10-02-2000 1000 RPY CSH# 000000094476054 -717.17 729.72
